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                               UM TED STATES DISTRICT COURT
                               SO UT H ERN D IST RICT O F FLO RID A

                              CA SE N O .21-cr-20325-W iIIiam sN cA IiIey

 ''
      UNITED STA TES O F A M ER ICA ,

      V.

      TY 'R EE DIX O N ,

            D efendant.
                                                  /

                                        PLEA A G R EEM EN T

            TheUnited StatesAttorney'sOfficefortheSouthernDistrictofFloridaCi
                                             v                              thisOffice''land
      Ty'reeDixon(hereinafterrefen'edtoastheçr efendanf')enterintothefollowingagreement:
                    TheDefendantagreesto plead guilty to Cotmts2 and 4,ofthelndictment. Count

      2 chargestheDefendantwith thepossession offirearm sand nmm tmition by a convictedfelon,in

      violationofTitle18,UnitedStatesCode,Seciion922(g)(1). Count4chargestheDefendantwith
      the illegalpossession of a machinegun,in violation of Title 18,United S,tates Code, Section

      9224c9(1).
            2.      This Office agreesto seek dism issalofthe rem airling counts oftheIndictm entat
                                                                             '
                                                                             .



      sentencing.

                    The Defendant is aware that the sentence will be impösed by the Courtafter
                                                                                    ')

      considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
      ttsentencing Guidelines'). The Defendantacknowledges and understandstùatthe Courtwill
      computean advisory sentencetmderthe Sentencing Guidelinesandthatthe applicable guidelines

      willbedeterminedby the Courtrelyingin parton theresultsofapre-sentenceinvestigationbythe
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  Court'sprobation office,which investigationwillcomm enceaftertheguiltypleahasbeenentered.

  The Defendantis also aware that,undercertain circllm stances,the Courtmay depart9om the

  advisory sentencing guideline range thatithas computed,and m ay raise orlowerthàtadvisory

  sentence lmdertheSentencing Gpidelines. TheDefendantisfurtherawareand understandsthat

  the Courtisrequired to considerthe advisory guideline range determ ined tmderthe Sentencing

  Guidelines,butisnotbotmdtoimposeasentencewithin thatadvisoiy range;theCourtispennitted

  to tailortheultimatesentencein lightofotherstatutory concerns,and such sentencemay beeither

  m oresevereorlessseverethanthe'SentencingGuidelines'advisoryrange. Knowingthese facts,

  the Defendant tmderstandsand acknowledges thatthe Courthas the authority to impose any

  sentence within and up to the statutorym aximllm authorized by law forthe offensesidentiled in

  paragraph 1 and thatthe Defendantmay notwithdraw theplea solely asa resultofthe sentence

  im posed.

         4.     The Defendantalso understands and acknowledgesthat,asto Count2,the Court

  may im poseastatutory m aximum term ofim prisonmentofup to ten years,followed by aterm of

  supervised release of up to three years. A s to Count 4,the Court m ay im pose a statutory

  maximum term ofimprisonm entofup to ten years,followed by aterm ofsupervised releaseofup

  to threeyears. ln addition to aterm ofimprisonm entand supervised release,foreach Countthe

  Courtm ay imposeafineofup to $250,000.
                The Defendant further gnderstands and acknowledges that, in addition to any

  sentence imposed underparagraph 4 ofthis agreem ent,a specialassessm entin the am ountof

  $100 per Cotmt willbe im posed on the Defendant. The D efendant agrees that any special
  assessm entimposed shallbepaid atthetimeofsentencing. IftheDefendantisfinancially tmable

  topaythespecialassessm ent,theDefendantagreestopresentevidencetotlzisOflk eandtheCourt

  atthe tim e ofsentencing asto thereasons forthe D efendant'sfailtlre to pay.
                                                 2
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             6.       This Oftice reservesthe rightto ilïform the Courtand the probalion office ofa1l

      factspertinentto thesentencingprocess,including allrelevantinform ation concerning theoffenses

      comm itted,whether charged ornot,as wellas concerning the Defendantand the Defendant's

.
      backgrotmd. Subjectonlytotheexpresstermsofanyagreed-uponselgencingrecommendations
      contained in thisagreem ent,thisOffke furtherreservestherightto makeany recomm endation as

      tothequality and quantityofpunishm ent.

             7.       Acknowledgingthattheparties'recommendationsastosentencingarenotbindinj
      on theprobation officeortheCourt:
                  ,      a.   This Office agrees that it w ill recom m end at sentencing that the Court

                              reduce by tw o levels the sentencing guideline 'level applicable to the
                                               .




                              Defendant's offense, ptlrsuant to Section 3E1.1(a) of the Sentencing
                              Guidelines,based upon the Defendant's recognition and affirm ative and

                              timely acceptance ofpersonalresponsibility.

                         b. This Office agm esthat,ifatthetim e ofyentencing the Defendant'soffense
        '
                              level is detennine'
                                                d to be 16 or greater,this Office will file a m otion

                              requestingan additionaloneleveldecreasepursuanttoSection 3E1.1(b)of
                              thè Sentencing Guidelines, stating that the Defendant has assisted

                              authorities,in the investigation or prosecution of the Defendant's own

                              m iscoéductby tim ely notifying authoritiesofthe Defenda
                                                                                     , nt'
                                                                                         s intention to

                              enteraplèaofguilty,thereby perm itting1hegovernmenttoavoidpreparing

                              for trial and perm itting the governm ent and the Courtto allocate their

                              resotlrces eftk iently.

      ThisOflke,however,willnotberequiredtomakethesereùommendationsiftheDefendant:(1)
      failj orrefuses to make a f'
                                 u11,accurate and com plete disclosure to the probation oftk e ofthe
                                                        3
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  circmnstancessurrotmdingtherelevantoffenseconduct;(2)isfotmdtohékemisrepresentedfacts
  tothegovernmentpriortoenteringintothispleaagreement;or(3)commitsanymisconductafter
  enteringintothispleaagreement,includingbutnötlim itedtocom mittingastateorfederaloffense,

  violating any term of release, or making false statements or misrepresentations to %
                                                                                     :1y
  governm entalentity oröfficial.

            8.   TheDefendantisawarethatthesentencehasnotyetbeeadeterminedbytheCourt.
  The Defendantalso isaware thatany estim ate ofthe probable sentencing range orsentencethat

  the Defendant may receive,whether that estimate comes from the Defendant's attom ey,this

  Office,ortheprobationoffce?isaprediction,notapromise,an'
                                                         disnotbindingonthisOgce,the
  probation office ortheCourt. The Defendantunderstandsfurtherthàtany recomm endation that

  thisOfficemakestotheCourtastosentencing,whetherpursuanttoihisagrçementorotherwise,
  isnotbindingon theCourtandtheCourtm ay disregard therecomm endation in itsentirety. The

  Defendanttinderstandsand acknowledges,aspreviously acknowledged iq paragraph 3 above,that

  the Defendant m ay not withdra:
                                w his plea based upon the Court's decision not to accept a

  sentencing recomm endation lpade by the Defendant,this Oftice,or a recom mendation made

  jointlybytheDefendantandthisUffice.
            9.   The defendant agrees,in an individualand any other capacity,to forfeitto the
  United States,voluntarily and im mediately,any firearm and'nmm tmition involved in orused in

  thecommissionofsuchoffenses,pursuanttoTitle18,UnitedStatesCodè,Se'ction 924(d)(1).
  addition,thedefendantagreestoforfeitureofsubstitutepropertyplzrsuanttoTitle21,United States
        .                                                                                  1

  Code,Section 853û9. Theproperty subjectto forfeitureinèludes,butisnotlimitedto,directly
  forfeitableproperty'
                     ,including,butnotlimited to:

                    a. OneGlock 20,lom m sem i-autom aticpistolwith SN BM TF986;

                    b. OneBlack Centttry Arm sIntem ationalAk Pistol,SN M 921W 039351;
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                          Approxim ately 27 roundsoflomm amm unition;

                       d. On black AR Pistol,Sm DB 1901930;

                          One Glpck 23,.40 calibeksem i-autom aticpistolSN GGK436;

                          One Glock 19,9mm sem i-automaticpistolSN AAAG820;

                       g. .oneGreen ttGhost''pistolwiihfullyautomaticswitch installed (someP80

                          partsonthesrearm,butnoserialmlmberonthelpWerreceiver);
                       h. OneGreenAR StyleçûGhost''pistol(no serialnllmber);
                                 .
                          Approxim ately fourroundsofW olf.223 nm m unl
                                                                      ktion;

                          Approxim ately tw o rotm ds ofR-9m m nm m lm ition;
                   '

                          Approximately 39 rotmdsofSpeerLawman .45 calibernm munition;
                                                                            ' ' -'
                                                  .

                          Approxim ately 16 roundsofBlazer.40 caliberàm mpnition;
                                                                        .


                                                                                 *
                                                                                .

                       m .Approxim qtely onerotm d ofCBC .40 caliberam mtm ition;

                          ApproximatelytworöundsofSlG .40'caliberammuniiion;
                       o. Approximately 34 rounds'ofFederalPrz
                                                             emillm .45 calibernmm unition;

                          Approximately 17 roundsofFiocchi7.62x39 nm muhition;
                             1                                              .
                       q. Approximately 40 rotmdsofTulnmm o 7.62x39 nm munition;and

                          ApproximatçlyoneroundofHornaty .40caliberammunition.
         10.    Thedefendantfurtheragreesthatforfeitureisindependentofany assessm ent,fine,

  cost,restitution,or penalty thatm ay be imposed by the Coiu't.The defendantknowingly and       .




  voluiltarily agrees to waive al1 constitutional, legal,arld equitable defenses to the forfeiture,-
  including excessive'fines under ihe Eighth Amendm ent to the United States Constitution.In

  addition,the defendantagteesto waive:any applicable time limitsfor-administrative orjudicial

  forfeitureproceedings,therequirement'
                                      sofFed.R.Crim.P.32.2and43(a),andanyappealofthe
  forfeiture.
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               11.   Thedefendantalso agreesto fully and truthfully disclose the existence,nattlreand
                                                      '
                                                                    x


  location ofa1lassetsin which the defendanthasorhad any directorindireitsnancialinterestor
  control,and any assetsr
                        involved in the offenses of conviction. The defendant agrees to '
                                                                                        take all

  stepsrequested by theUrlited Statesfortherecovery and forfeitum ofal1assetsidentifed bythe
    '

  UnitedStatesassubjecttoforlkittlre. Thisincludes,butisnotlimitedto,thetimelydeliveryupon
           '
                                                                                         .    )

 requestof a11necessary and appropriate documentation to deliver good and m arketable title,

  consentingtoa11ordersofforfeiture,andnotcontestingorimpedinkinany'waywithanycdminal,
  civiloradministrativeforfettureproceedingconcemingtheforfeiture.
                     This is the entire agreement and undersianding between this Office and the
  Defendant. Thereareno otheragreements,promisep,representatibns,orunderstandings.


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